              Case 2:07-cr-00122-WBS Document 70 Filed 02/29/08 Page 1 of 2


 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     JASON WEATHERSBY
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )               NO. CR.S-07-0122 EJG
12               Plaintiff,              )
                                         )
13   v.                                  )               STIPULATION AND
                                         )               ORDER
14   JASON WEATHERSBY,                   )
                                         )
15               Defendant.              )
                                         )
16   ____________________________________)
17          Defendants Jason Weathersby, through Attorney Dwight M. Samuel, and the United
18   States of America, through Assistant U.S. Attorney Phillip Talbert, agree that the Judgement and
19   Sentencing set for March 7, 2008 be vacated and continued to April 4, 2008 at 10:00 am.
20          In addition, it is agreed that Defendant’s Objections are due no later than March 28, 2008.
21
     Respectfully submitted,
22
23
     DATED: February 27, 2008                    /S/Dwight M. Samuel
24                                                Dwight M. Samuel
                                                  Attorney for Defendant
25                                                Susan D’Orta
26
27   DATED: February 27, 2008                     /S/Phillip Talbert
                                                  Phillip Talbert
28                                                Assistant United States Attorney
             Case 2:07-cr-00122-WBS Document 70 Filed 02/29/08 Page 2 of 2


 1                                      (Signed per Telephonic authorization)
 2
 3
 4         IT IS SO ORDERED.
 5   DATED: February 27, 2008
 6                                      /s/ Edward J. Garcia
                                        Edward J. Garcia
 7                                      United States District Court Judge
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